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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                       ______

DAMIEN REID,

                      Petitioner,                   Case No. 1:18-cv-636
v.                                                  Honorable Gordon J. Quist
RANDEE REWERTS,

                      Respondent.
____________________________/

                                            OPINION

               This is a habeas corpus action brought by a state prisoner under 28 U.S.C. § 2254.

The matter presently is before the Court on Petitioner’s motion to stay the petition (ECF No. 9)

and hold it in abeyance pending the exhaustion of a new claim not raised in his original petition.

For the reasons that follow, the Court will deny the motion.

                                            Discussion

               I.     Factual allegations

               Petitioner, Damien Reid, presently is incarcerated with the Michigan Department

of Corrections at the Carson City Correctional Facility (DRF) in Carson City, Montcalm County,

Michigan. Following a bench trial in the Ingham County Circuit Court, Petitioner was convicted

of assault with intent to commit murder, Mich. Comp. Laws § 750.83, being a felon in possession

of a firearm, Mich. Comp. Laws § 750.224f, carrying a concealed weapon, Mich. Comp. Laws

§ 750.227, and possession of a firearm during the commission of a felony (felony firearm), Mich.

Comp. Laws § 750.227b. On August 13, 2014, the court sentenced Petitioner as a fourth-offense

felony offender, Mich. Comp. Laws § 769.12, to prison terms of 27 years to 39 years and 11
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months on the assault-with-intent-to-murder conviction and 5 years to 8 years and 4 months on the

carrying-concealed and felon-in-possession convictions, all to run consecutively to a sentence of

2 years on the felony-firearm conviction.

               Petitioner appealed his convictions and sentences to the Michigan Court of Appeals

and the Michigan Supreme Court, raising the following four issues:

       I.      [PETITIONER] WAS DENIED DUE PROCESS AND A FAIR TRIAL
               WHERE THE PROSECUTOR’S WITNESSES WERE ALLOWED TO
               INVADE THE FACT FINDING PROVINCE OF THE JURY.

       II.     [PETITIONER] WAS DENIED HIS CONSTITUTIONAL RIGHT TO A
               FAIR TRIAL BEFORE AN IMPARTIAL JURY.

       III.    [PETITIONER] IS ENTITLED TO A NEW TRIAL AS HE WAS DENIED
               EFFECTIVE ASSISTANCE OF COUNSEL.

       IV.     [PETITIONER] IS ENTITLED TO BE REMANDED FOR A CROSBY
               PROCEDURE AND POSSIBLE RE-SENTENCING BECAUSE THE
               FACTS IN SUPPORT OF SOME OF HIS OFFENSE VARIABLE
               SCORES WERE NOT FOUND BY THE JURY TO BE PROVEN
               BEYOND A REASONABLE DOUBT, HE WAS SENTENCED PRIOR
               TO JULY 29, 2015, AND THE SIXTH AMENDMENT VIOLATION
               ALTERED THE GUIDELINE RANGE.

(Pet’r’s Br. on Appeal, ECF No. 1-1, PageID.19.) In an unpublished opinion issued on September

13, 2016, the court of appeals affirmed the convictions, but remanded the case for consideration

of whether resentencing was proper under People v. Lockridge, 870 N.W.2d 502 (Mich. 2015).

The Michigan Supreme Court denied leave to appeal on April 4, 2017. On remand, the trial court

declined to resentence Petitioner, holding that it would have imposed the same sentence, even if

the guidelines had been advisory rather than mandatory.

               On May 4, 2018, Petitioner filed his habeas corpus petition. Under Sixth Circuit

precedent, the application is deemed filed when handed to prison authorities for mailing to the

federal court. Cook v. Stegall, 295 F.3d 517, 521 (6th Cir. 2002). Petitioner has not supplied that
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date. Petitioner signed his application on May 4, 2018. (Pet., ECF No. 1, PageID.14.) The petition

was received by the Court on June 7, 2018. The Petitioner is given the benefit of the earliest

possible filing date. See Brand v. Motley, 526 F.3d 921, 925 (6th Cir. 2008) (holding that the date

the prisoner signs the document is deemed under Sixth Circuit law to be the date of handing to

officials) (citing Goins v. Saunders, 206 F. App’x 497, 498 n.1 (6th Cir. 2006)).

               Petitioner’s original petition raises the same four grounds presented in his habeas

petition. (Pet., ECF No. 1, PageID.19.) Petitioner, however, has since filed a motion to stay the

petition. His motion indicates that he has hired a private investigator to fully investigate his belief

that the prosecutor threatened witness Dushawn Lee in order to compel Lee’s testimony against

Petitioner. Petitioner asserts that he intends to raise at least one new ground for relief based on

newly discovered evidence arising out of that investigation. Petitioner wishes to stay the petition

in order to file a motion for relief from judgment in the Ingham County Circuit Court.

               II.     Exhaustion of State Court Remedies

               Before the Court may grant habeas relief to a state prisoner, the prisoner must

exhaust remedies available in the state courts. 28 U.S.C. § 2254(b)(1); O’Sullivan v. Boerckel,

526 U.S. 838, 842 (1999). Exhaustion requires a petitioner to “fairly present” federal claims so

that state courts have a “fair opportunity” to apply controlling legal principles to the facts bearing

upon a petitioner’s constitutional claim. Id. at 844, 848; see also Duncan v. Henry, 513 U.S. 364,

365 (1995); Anderson v. Harless, 459 U.S. 4, 6 (1982); Picard v. Connor, 404 U.S. 270, 275-77

(1971). To fulfill the exhaustion requirement, a petitioner must have fairly presented his federal

claims to all levels of the state appellate system, including the state’s highest court. O’Sullivan,

526 U.S. at 845; Wagner v. Smith, 581 F.3d 410, 414 (6th Cir. 2009); Hafley v. Sowders, 902 F.2d


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480, 483 (6th Cir. 1990). The district court can and must raise the exhaustion issue sua sponte

when it clearly appears that habeas claims have not been presented to the state courts. See Prather

v. Rees, 822 F.2d 1418, 1422 (6th Cir. 1987); Allen v. Perini, 424 F.2d 134, 138-39 (6th Cir. 1970).

               Petitioner bears the burden of showing exhaustion. See Rust v. Zent, 17 F.3d 155,

160 (6th Cir. 1994). According to allegations in the petition and the attachments, Petitioner fully

exhausted his four listed grounds for relief at all levels of the state court. Petitioner acknowledges,

however, that he has not exhausted the new ground he wishes to add to his petition.

               An applicant has not exhausted available state remedies if he has the right under

state law to raise, by any available procedure, the question presented. 28 U.S.C. § 2254(c).

Petitioner has at least one available procedure by which to raise the issues presented in this

application. He may file a motion for relief from judgment under Mich. Ct. R. 6.500 et seq. Under

Michigan law, one such motion may be filed after August 1, 1995. Mich. Ct. R. 6.502(G)(1).

Petitioner has not yet filed his one allotted motion. Therefore, the Court concludes that he has at

least one available state remedy. To properly exhaust his claim, Petitioner must file a motion for

relief from judgment in the Ingham County Circuit Court. If his motion is denied by the circuit

court, Petitioner must appeal that decision to the Michigan Court of Appeals and the Michigan

Supreme Court. O’Sullivan, 526 U.S. at 845; Hafley, 902 F.2d at 483 (“‘[P]etitioner cannot be

deemed to have exhausted his state court remedies as required by 28 U.S.C. § 2254(b) and (c) as

to any issue, unless he has presented that issue both to the Michigan Court of Appeals and to the

Michigan Supreme Court.’”) (citation omitted).

               Construing the petition and the motion to stay together, Petitioner’s habeas

application, as he proposes to amend it, is “mixed.” Under Rose v. Lundy, 455 U.S. 509, 522


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(1982), district courts are directed to dismiss mixed petitions without prejudice in order to allow

petitioners to return to state court to exhaust remedies. However, since the habeas statute was

amended to impose a one-year statute of limitations on habeas claims, see 28 U.S.C. § 2244(d)(1),

dismissal without prejudice often precludes future federal habeas review. This is particularly true

after the Supreme Court ruled in Duncan v. Walker, 533 U.S. 167, 181-82 (2001), that the

limitations period is not tolled during the pendency of a federal habeas petition. As a result, the

Sixth Circuit has adopted a stay-and-abeyance procedure to be applied to mixed petitions. See

Palmer v. Carlton, 276 F.3d 777, 781 (6th Cir. 2002). In Palmer, the Sixth Circuit held that when

the dismissal of a mixed petition could jeopardize the timeliness of a subsequent petition, the

district court should dismiss only the unexhausted claims and stay further proceedings on the

remaining portion until the petitioner has exhausted his claims in the state court. Id.; see also

Rhines v. Weber, 544 U.S. 269, 277 (2007) (approving stay-and-abeyance procedure); Griffin v.

Rogers, 308 F.3d 647, 652 n.1 (6th Cir. 2002).

               Petitioner’s application is subject to the one-year statute of limitations provided in

28 U.S.C. § 2244(d)(1) establishing a one-year limitations period from “the date on which the

judgment became final by the conclusion of direct review or the expiration of the time for seeking

such review.” 28 U.S.C. § 2244(d)(1)(A). Petitioner appealed his conviction to the Michigan

Court of Appeals and the Michigan Supreme Court. The Michigan Supreme Court denied his

application on April 4, 2017. Petitioner did not petition for certiorari to the United States Supreme

Court, though the ninety-day period in which he could have sought review in the United States

Supreme Court is counted under § 2244(d)(1)(A). See Bronaugh v. Ohio, 235 F.3d 280, 283 (6th

Cir. 2000). The ninety-day period expired on July 3, 2017. Accordingly, absent tolling, Petitioner

would have had one year, or until July 3, 2018, to file his habeas petition. Petitioner filed the



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instant petition on May 4, 2018, 60 days before the limitations period expired. Petitioner, however,

did not file his motion to stay or otherwise attempt to raise his new claim until on or about August

6, 2018, more than a month after his period of limitations expired.

               The one-year statute of limitations applies to each claim in a habeas application, as

opposed to the application as a whole. See Bachman v. Bagley, 487 F.3d 979 (6th Cir. 2007); see

also Mardesich v. Cate, 668 F.3d 1164, 1170 (9th Cir. 2012). A petitioner has no right to amend

his petition after the statute of limitations has run unless the proposed amendment relates back to

the date of the original pleading. Howard v. United States, 533 F.3d 472, 475 (6th Cir. 2008)

(citing Mayle v. Felix, 545 U.S. 644, 661 (2005)). Moreover, “an overly broad application of the

relation-back doctrine would contravene Congress’s intent in enacting AEDPA ‘to advance the

finality of criminal convictions.’” Hill v. Mitchell, 842 F.3d 919, 922-26 (6th Cir. 2016) (quoting

Mayle, 545 U.S. at 661 (2005)). Petitioner’s proposed new claim is wholly unrelated to any of his

four timely filed claims. As a consequence, any motion to amend his petition to include the new

claim would be time-barred under 28 U.S.C. § 2244(d)(1)(A).

               Further, even if Petitioner’s proposed new claim related back, he fails to

demonstrate, in his motion to stay the proceedings or in his memorandum in support of that motion,

that he is entitled to a stay within the meaning of Rhines, 544 U.S. at 269. Under Rhines, to

demonstrate entitlement to a stay, a petitioner must show the following: (1) good cause for his

failure to exhaust before filing his habeas petition; (2) that his unexhausted claims are not plainly

meritless; and (3) that he has not engaged in intentionally dilatory litigation tactics. See Rhines,

544 U.S. at 277-78. Petitioner does not specify the basis for his witness-coercion claim, so it is

impossible for this Court to determine whether it is plainly meritless. He also fails to allege facts

suggesting good cause for his failure to exhaust before filing his petition. Further, Petitioner



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alleges no facts demonstrating that he has not engaged in intentionally dilatory litigation practices.

Indeed, although Petitioner suggests that he has only recently hired a private investigator to

develop the facts surrounding his claim that witness Lee was coerced, Petitioner fails to allege

when he became aware that Lee was coerced, regardless of whether Petitioner had all of the

evidence to support his claim.

               For all these reasons, Petitioner is not entitled to a stay of these proceedings while

he returns to state court to exhaust his proposed new claim. Accordingly, his motion to stay will

be denied.

                                            Conclusion

               Having reviewed Petitioner’s motion to stay the petition (ECF No. 9) while he

exhausts proposed new habeas grounds will be denied. An order consistent with this opinion will

issue.



Dated: September 10, 2018                                     /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE




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